   Case 3:11-cr-02094-MMA   Document 31   Filed 09/28/11   PageID.50                          Page 1 of 1


                                                                                                   !'-'~



                      UNITED STATES DISTRICT COURT                                                 t_
                     SOUTHERN DISTRICT OF CALIFORNIA!U SEP 28 PH 3: 31t
                                                                       o   ~ :J~f ~'
                                                               r   '       I   ii,~.   ., i
UNITED STATES qF AMERICA,                 CASE NO. llCR2094-MMA

                i     Plaintiff,
                                                               'f¥         vfJ
               v~.
                i
                                          JUDGMENT OF DISMISSAL
JAMES ARTHUR Q INONEZ,

                      Defendant.


          IT AP~EARING that the defendant is now entitled to be discharged
for the rea$on 1hat:

    an indictm~nt has been filed in another case against the defendant and
    the Court ~as granted the motion of the Government for dismissal of
    this case,without
               ,
                       prejudice; or

     the Court has dismissed the case for unnecessary delay; or
               !
     the Court 1as granted the motion of the Government for dismissal; or

     the Court 1as granted the motion of the defendant for a judgment of
     acqui t tal; lor
                I
                I
     a jury haslbeen waived, and the Court has found the defendant not
     guilty; orl

     the jury hts returned its verdict, finding the defendant not guilty;
                !
     of the off¢nse(s) as charged in the Indictment/Information:
                i




           IT IS THEREFORE ADJUDGED that


DATED:   9/27/20~1
                                           MI CH1\.EL M. ANELLO
                                           UNITED STATES DISTRICT JUDGE
